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 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10    LARRY L’HEUREUX,
                                                        CASE NO. 13-CV-59-IEG (BLM)
11                                   Plaintiff,
                                                        ORDER GRANTING JOINT
12          v.                                          MOTION TO DISMISS WITH
                                                        PREJUDICE
13    CMRE FINANCIAL SERVICES,
      INC.,                                             [Doc. No. 15]
14
                                   Defendant.
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           Presently before the Court is the parties’ joint motion to dismiss the action
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     with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). [Doc.
18
     No. 15.] Rule 41(a)(1)(A)(ii) permits dismissal without a court order upon a
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     stipulation of dismissal signed by all parties who have appeared. Fed. R. Civ. P.
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     41(a)(1)(A)(ii). However, because the parties have filed a motion, rather than a
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     stipulation, the Court construes the motion to dismiss as pursuant to Rule 41(a)(2).
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     For good cause shown, the Court GRANTS the joint motion and DISMISSES the
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     action with prejudice. The clerk is directed to close the case.
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           IT IS SO ORDERED.
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     DATED: July 15, 2013                         ______________________________
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                                                        IRMA E. GONZALEZ
27                                                      United States District Judge
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